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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:05CR131
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
SCOTT D. FREESE,                              )
                                              )
              Defendant.                      )


       The Court has received the Presentence Investigation Report (“PSR”). Neither party

filed objections to the report. See Order on Sentencing Schedule, ¶ 6. However, the

Addendum to the PSR reflects that initial objections were submitted to the probation officer.

Id. ¶ 4. The Defendant has filed a motion for downward departure (Filing No. 296) and a

motion for variance from the guidelines (Filing No. 297). Both motions are supported by

briefs. (Filing Nos. 296, 297.) The Court advises the parties that these Tentative Findings

are issued with the understanding that, pursuant to United States v. Booker, 543 U.S. 220

(2005), the sentencing guidelines are advisory.

       The plea agreement does not include an agreement with respect to the Defendant’s

role in the offense. The PSR included a downward adjustment of 3 levels for a role falling

between that of a minor and a minimal participant. Although neither party objected to the

role adjustment, the Defendant discussed the matter in his motion for downward departure.

(Filing No. 296.) Considering the arguments, the lack of objection by the Defendant to the

facts in the PSR with respect to role, the lack of any objection by the government to the

PSR, and the information in the PSR, the Court’s tentative findings are that the Defendant’s
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role reflected in the PSR is correctly calculated. The motion for departure (Filing No. 296),

considered as the Defendant’s objection to ¶ 31, is denied.

       The Defendant’s motion for variance (Filing No. 297) will be heard at sentencing.

       IT IS ORDERED:

       1.      The Defendant’s objection to the presentence investigation report, submitted

in the form of a motion for downward departure (Filing No. 296) is denied;

       2.      The Court’s tentative findings are that the Presentence Investigation Report

is correct in all respects;

       3.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.      Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final;

       5.      Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing; and

       6.      The Defendant’s motion for variance (Filing No. 297) will be heard at

sentencing.




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     DATED this 3rd day of July, 2006.

                                         BY THE COURT:

                                         S/ Laurie Smith Camp
                                         United States District Judge




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